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IN THE UNITEI) sTATEs DISTRICT COURT "
FoR THE WESTERN DISTRICT oF TENNESSEE
EASTERN DIVISION

GUIDEONE TAYLoR BALL )
CoNSTRUCTIoN SERVICES, INC., )
)
Plainnff, )
)

v. ) NO.: 05-1021-T-An
)
FIRST BAPTIST CHURCH oF )
sELMER, TENNESSEE, )
)
Defendant. )

 

RULE 16(b) SCHEDULING ORDER

 

PurSuam to the Scheduling conference set by Written notice, the following dates Were
established as the final dates for:

INITIAL DISCLOSURES (RULE 26(3)(1)): July 22, 2005

J()INING PARTIES:
for Plaintiff: October 7, 2005
For Defendant: November 7 , 2005
AMENDING PLEADINGS:
for Plaintiff: October 7, 2005
for Defendant: November 7, 2005

C()MPLETING ALL DISCOVERY:

(a) REQUESTS FOR PR()DUCTION and INTERROGATORIES:
March 7, 2006

This document entered on the docket she t in comp1ianc:e
with nme 58 and:or_re (a) FncP on _LQ_I_QB_,_O_S

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(b) REQUESTS FOR ADMISSIONS: April 7, 2006
(c) EXPERT DISCLOSURE (Rule 26(a)(2)):

(i) Plaintiff’s Experts: April 14, 2006

(ii) Defendant’s Experts: May 15, 2006

(iii) Supplementation under Rule 26(e): May 26, 2006
(d) DEPOSITIONS: July 7, 2006
FILING DISPOSITIVE MOTIONS: August 11, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: October 5, 2006
(b) for Defendant: October 20, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 2 Weeks and is SET for JURY TRIAL
on MONDAY, NOVEMBER 20, 2006 at 9:30 A.M.. A joint pretrial order is due on FRIDAY,
N()VEMBER 10, 2006. ln the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FED. R. CIV. P. allow 30 days for a party to
respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be Waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FED. R. CIV. P. 12, 56, 59, and 60, shall be accompanied by

a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter Neither party

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may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is requiredl

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties will file a written consent form with the court
should they decide to proceed before the magistrate judge.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close ofdiseoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or

extendedl
sense @,)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: (92{/#€ 227 ZGDS"

UNITED s`TATES isrRiCT oURT - wESRTE DISTRCIT o TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case l:05-CV-01021 was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Russell E. Reviere

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Honorable .l ames Todd
US DISTRICT COURT

